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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                                   CASE NO.: 4:05cr39-SPM

GIGI A. BEARD,

           Defendant.
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               ORDER EXTENDING SELF-SURRENDER DATE

      This cause comes before the Court on Defendant’s Second Motion for

Reconsideration of Surrender Date (doc. 90). Upon consideration, it is

      ORDERED AND ADJUDGED:

      1.     The motion (doc. 90) is granted.

      2.     Defendant shall self-surrender to the designated facility at 12 Noon

on Monday, January 8, 2007.

      DONE AND ORDERED this 15th day of December, 2006.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
